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                                   3

                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7        REARDEN LLC, et al.,                           Case No. 17-cv-04006-JST
                                                         Plaintiffs,
                                   8
                                                                                           VERDICT FORM
                                                  v.
                                   9

                                  10        THE WALT DISNEY COMPANY, et al.,
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13            We, the jury, duly empaneled and sworn in the above-entitled action, answer the questions

                                  14   posed to us as follows:

                                  15                                      COPYRIGHT INFRINGEMENT

                                  16   1.       Did Rearden own the copyright in the MOVA Contour software program during the time

                                  17            DD3 used that software in connection with the Beast character in Beauty and the Beast?

                                  18            Yes ______ No ______

                                  19            If you answered “Yes” to Question 1, please answer Question 2. If you answered “no” to

                                  20   Question 1, please stop here, answer no further questions, and have the presiding juror sign and

                                  21   date this form.

                                  22

                                  23   2.       Is Disney vicariously liable for DD3’s infringement of the copyright in the MOVA

                                  24            Contour software program?

                                  25            Yes ______ No ______

                                  26            If you answered “yes” to Question 2, please answer Question 3. If you answered “no” to

                                  27   Question 2, please stop here, answer no further questions, and have the presiding juror sign and

                                  28   date this form.
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                                   1                                       PLAINTIFF’S DAMAGES

                                   2   3.      What is the total amount of actual damages you award to Plaintiff Rearden for Defendant

                                   3           Disney’s copyright infringement?

                                   4

                                   5           Actual Damages: $ _______________________________

                                   6           Please answer Question 4.

                                   7

                                   8   4.      What is the total amount of Defendant Disney’s profits from Beauty and the Beast?

                                   9

                                  10           Disney Profits: $_______________________________

                                  11           Please answer Question 5.

                                  12
Northern District of California
 United States District Court




                                  13   5.      What sum of money represents the portion of Disney’s profits from Beauty and the Beast

                                  14           that is not attributable to DD3’s copyright infringement?

                                  15

                                  16           $_______________________________

                                  17           Please answer Question 6.

                                  18
                                  19   6.      What sum of money represents the portion of Disney’s profits that is attributable to DD3’s

                                  20           copyright infringement?

                                  21

                                  22           $_______________________________

                                  23

                                  24           Please have the presiding juror sign and date this form.

                                  25

                                  26
                                  27   Dated: ______________                 Signed: ____________________________

                                  28                                                            Presiding Juror
                                                                                         2
